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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA

Jared Fiege,                                      Civil File No. __________________
                               Plaintiff,
      vs.                                                 COMPLAINT

County of St. Louis; Deputy Jacob                 JURY TRIAL REQUESTED
Gargano; Sergeant Wade Rasch;
Investigator Nick Voltzke; Deputy
Matthew Sobczak; Deputy Paige
Wedan; Deputy Ryan Smith; Deputy
Tanner Banks; Deputy Tony
McTavish; Deputy Mark Haselow;
Deputy Gerard Gagnon, Sergeant
Brandon Silgjord, and J. Does 1-30;
all in their individual and official
capacities,
                            Defendants.


                                   THE PARTIES

      1.       Plaintiff is an adult male who resides in Minnesota.

      2.       Defendant County of St. Louis (“St. Louis County”) is a political

subdivision of the State of Minnesota. St. Louis County employed Defendants

Does 1-30 at all times relevant to this action. St. Louis County is sued directly

and also on the theories of respondeat superior or vicarious liability and

pursuant to Minn. Stat. § 466.02 for the unlawful conduct of Does 1-30. St.

Louis County is the political subdivision charged with training and supervising

Does 1-30.

      3.       Defendants Gargano, Rasch, Voltzke, Sobczak, Wedan, Smith,

Banks, McTavish, Haselow, Gagnon and Silgjord are employees or officials of
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St. Louis County whose acts or omissions resulted in Plaintiff experiencing

excessive force by law enforcement.

      4.      Defendants J. Does 1-30 are employees or officials of St. Louis

County whose acts or omissions resulted in Plaintiff experiencing excessive

force by law enforcement (Does 1-15) or not receiving proper protection from

other inmates at the St. Louis County jail (Does 16-30).

                           JURISDICTION AND VENUE

      5.      This is an action for monetary and declaratory relief under 42

U.S.C. §§ 1983 and 1988. This Court has jurisdiction over this matter

pursuant to 28 U.S.C. §§ 1343(a)(3), 1331, and 1367. Venue lies properly in

this district pursuant to 28 U.S.C. § 1391, as the events giving rise to this

action occurred in this district and, on information and belief, Defendants

reside in this district.

                            GENERAL ALLEGATIONS

      6.      On March 22, 2019, a search warrant was issued for a two-story

single-family residence on Independence Road in Saginaw, Minnesota,

authorizing law enforcement to enter the residence to arrest Plaintiff on one or

more active warrants.

      7.      At approximately 5:22 p.m. on March 22, 2019, law enforcement

officers, including Defendants Deputy Jacob Gargano, Sergeant Rasch,

Investigator Voltzke, Deputy Sobczak, Deputy Wedan, Deputy Smith, Deputy

Banks, Deputy McTavish, Deputy Haselow, Deputy Gagnon, Sergeant Silgjord,




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and J. Does 1-15, arrived in the area of the residence on Independence Road in

Saginaw, Minnesota and executed the search warrant.

      8.      Plaintiff was found leaving the home via the back door with his

arms raised and hands up. Plaintiff had nothing in his hands. As Plaintiff was

instructed by officers to reply to them, he stated loudly that he was coming out

the door.

      9.      One or more Defendants struck Plaintiff even though his hands

were up.

      10.     One or more Defendants used a Taser on Plaintiff even though his

hands were up.

      11.     One or more Defendants deployed a police canine on Plaintiff even

though his hands were up, and the canine bit Plaintiff after he was handcuffed.

      12.     One or more Defendants escorted Plaintiff into the residence on

Independence Road in Saginaw, Minnesota.

      13.     One or more Defendants slammed Plaintiff into the wall inside the

residence.

      14.     One or more Defendants tripped Plaintiff down the stairs inside the

residence.

      15.     One or more Defendants kicked Plaintiff while Plaintiff was on the

floor in handcuffs inside the residence, and then removed personal property

from Plaintiff that was never inventoried or returned to Plaintiff.

      16.     One or more Defendants lifted Plaintiff from the ground in a

chokehold.


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      17.    One or more Defendants who entered the residence removed other

personal property that belonged to Plaintiff (e.g., a laptop computer), did not

inventory such property, and have not returned such property to Plaintiff.

      18.    The force one or more Defendants used on Plaintiff was

unauthorized, excessive, and constitutionally improper.

      19.    One or more Defendants tried to cover up their misconduct by

filing a misleading police report in this matter.

      20.    Plaintiff never physically resisted law enforcement on March 22,

2019 or while subsequently incarcerated at the St. Louis County jail.

      21.    The severity of any potential crime at issue was de minimis.

      22.    Plaintiff did not pose an immediate threat to the safety of any law

enforcement officers, or others, at any time.

      23.    Plaintiff did not attempt to evade arrest by flight, and did not

actively resist arrest.

      24.    At the St. Louis County jail, Plaintiff submitted complaints to one

or more Doe Defendants, both verbally and in writing, requesting protection

from his cellmate.

      25.    Specifically, Plaintiff reported that his cellmate had exhibited

violent tendencies and had threatened to physically assault, batter, and cause

physical injuries to Plaintiff.

      26.    Plaintiff requested that one or more Doe Defendants protect

Plaintiff from his cellmate.

      27.    Plaintiff also requested to be housed separately from his cellmate.


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      28.    One or more Doe Defendants ignored Plaintiff’s complaints and

instead forced him to continue living with his cellmate.

      29.    Eventually, after Plaintiff’s complaints were ignored, Plaintiff’s

cellmate physically attacked and assaulted Plaintiff without provocation or

justification, and caused Plaintiff to suffer physical injuries, including bruising

and swelling.

                                COUNT I
DEPRIVATION OF CIVIL RIGHTS IN VIOLATION OF 42 U.S.C. § 1983 AND
  THE FOURTH AND FOURTEENTH AMENDMENTS – EXCESSIVE FORCE
 (Against Deputy Gargano, Sergeant Rasch, Investigator Voltzke, Deputy
Sobczak, Deputy Wedan, Deputy Smith, Deputy Banks, Deputy McTavish,
Deputy Haselow, Deputy Gagnon, Sergeant Silgjord, and J. Does 1-15, All
                     in their Individual Capacities)

      30.    Plaintiff restates the allegations contained in the previous

paragraphs as if fully incorporated herein.

      31.    One or more Defendants violated Plaintiff’s Fourth Amendment

right to be free from excessive force.

      32.    Plaintiff was not actively resisting, fleeing, or a danger to himself or

others.

      33.    Plaintiff had not committed any crime on March 22, 2019 or while

subsequently incarcerated at the St. Louis County jail.

      34.    By the actions described above, one or more Defendants, under the

color of state law, violated and deprived Plaintiff of Plaintiff’s clearly established

and well-settled right to be free from excessive force.




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      35.     One or more Defendants subjected Plaintiff to this deprivation of

rights either maliciously or acting with reckless disregard for whether Plaintiff’s

rights would be violated by these actions.

      36.     As a direct and proximate result of the acts or omissions of one or

more Defendants, Plaintiff suffered injuries, was forced to endure pain and

mental suffering, and was thereby damaged in an amount yet to be

determined.

      37.     As a direct and proximate result of the acts or omissions of one or

more Defendants, Plaintiff suffered severe medical complications and has

incurred medical expenses.

      38.     Punitive damages are available against one or more Defendants,

are hereby claimed as a matter of federal common law, Smith v. Wade, 461 U.S.

30 (1983), and, as such, are not subject to the differing pleading standard set

forth in Minn. Stat. § 549.20.

      39.     Plaintiff is entitled to recovery of his costs, including reasonable

attorneys’ fees, under 42 U.S.C. § 1988.

      40.     At the time one or more Defendants used force against Plaintiff, it

was clearly established that police officers have an affirmative duty to intervene

on behalf of people whose Fourth Amendment rights are being violated in their

presence by one or more other officers. Webb v. Hiykel, 713 F.2d 405, 408 (8th

Cir. 1983); Putman v. Gerloff, 639 F.2d 415, 423 (8th Cir. 1981).

      41.     One or more Defendants failed to intervene on Plaintiff’s behalf.




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      42.   As a proximate cause of the violation of Plaintiff’s rights as stated

above, and as protected by the Fourth Amendment to the U.S. Constitution,

Plaintiff was injured, thereby entitling Plaintiff to recover damages.

                            COUNT II
DEPRIVATION OF CIVIL RIGHTS IN VIOLATION OF 42 U.S.C. § 1983 AND
    THE EIGHTH AND FOURTEENTH AMENDMENTS – DELIBERATE
 INDIFFERENCE/FAILURE TO PROTECT (Against J. Does 16-30 in their
                      Individual Capacities)

      43.   Plaintiff restates the allegations contained in the previous

paragraphs as if fully incorporated herein.

      44.   Based on the above factual allegations, Defendants, through their

actions, acting under the color of state law, violated Plaintiff’s constitutional

rights under the Eighth and/or Fourteenth Amendments to the United States

Constitution through their deliberate indifference/reckless disregard towards

serious risk of harm to Plaintiff and through their deliberate/reckless failure to

protect Plaintiff from serious risk of harm.

      45.   As a proximate cause of these violations, Plaintiff suffered harm,

thereby entitling Plaintiff to recover damages.

      46.   Plaintiff is entitled to recovery of his costs, including reasonable

attorneys’ fees, under 42 U.S.C. § 1988.




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                               COUNT III
BATTERY (Against St. Louis County and Deputy Gargano, Sergeant Rasch,
  Investigator Voltzke, Deputy Sobczak, Deputy Wedan, Deputy Smith,
   Deputy Banks, Deputy McTavish, Deputy Haselow, Deputy Gagnon,
 Sergeant Silgjord, and J. Does 1-15, All in their Individual and Official
                               Capacities)

       47.      Plaintiff restates the preceding paragraphs as though fully stated

herein.

       48.      One or more Defendants caused harmful or offensive contact with

Plaintiff.

       49.      Defendant St. Louis County is vicariously liable to Plaintiff for this

battery by one or more of its employees.

       50.      As a proximate cause of such contact, Plaintiff suffered harm,

thereby entitling Plaintiff to recover damages.

                               COUNT IV
 NEGLIGENCE (Against St. Louis County and Deputy Gargano, Sergeant
  Rasch, Investigator Voltzke, Deputy Sobczak, Deputy Wedan, Deputy
Smith, Deputy Banks, Deputy McTavish, Deputy Haselow, Deputy Gagnon,
 Sergeant Silgjord, and J. Does 1-30, All in their Individual and Official
                               Capacities)

       51.      Plaintiff restates the allegations contained in the preceding

paragraphs as though fully incorporated herein.

       52.      One or more Defendants, by the above-described actions or

omissions, breached their duty to exercise a reasonable standard of care

toward Plaintiff.

       53.      These breaches of duty were ministerial in nature.




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      54.    St. Louis County is vicariously liable for the failure of its employees

or officials to carry out established orders related to the use of force or the

provision of safe housing to people who are incarcerated in its jail.

      55.    As a proximate cause of such negligence, Plaintiff suffered harm,

thereby entitling Plaintiff to recover damages.

                                COUNT V
 CONVERSION (Against St. Louis County and Deputy Gargano, Sergeant
  Rasch, Investigator Voltzke, Deputy Sobczak, Deputy Wedan, Deputy
Smith, Deputy Banks, Deputy McTavish, Deputy Haselow, Deputy Gagnon,
 Sergeant Silgjord, and J. Does 1-15, All in their Individual and Official
                               Capacities)

      56.    Plaintiff restates the previous paragraphs as though fully

incorporated herein.

      57.    By their conduct detailed above, one or more Defendants acted in a

manner contrary to Plaintiff’s personal property rights.

      58.    By their conduct detailed above, one or more Defendants

intentionally destroyed, diminished, damaged, and/or changed Plaintiff’s

personal property.

      59.    By their conduct detailed above, one or more Defendants

intentionally deprived Plaintiff of possession of his personal property.

      60.    Defendant St. Louis County is vicariously liable to Plaintiff for this

conversion by one or more of its employees.

      61.    The actions of one or more Defendants caused Plaintiff to suffer

harm, including but not limited to: loss of his personal property.




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                                COUNT VI
 NEGLIGENCE PER SE – CIVIL THEFT IN VIOLATION OF MINN. STAT. §
 604.14 (Against St. Louis County and Deputy Gargano, Sergeant Rasch,
  Investigator Voltzke, Deputy Sobczak, Deputy Wedan, Deputy Smith,
   Deputy Banks, Deputy McTavish, Deputy Haselow, Deputy Gagnon,
  Sergeant Silgjord, and J. Does 1-15, All in their Individual and Official
                                Capacities)

      62.   Plaintiff restates the preceding paragraphs as if fully stated herein.

      63.   One or more Defendants unlawfully took and deprived Plaintiff’s

personal property in violation of Minn. Stat. § 604.14, and have no intention of

returning the personal property.

      64.   Defendant St. Louis County is vicariously liable to Plaintiff for this

theft by one or more of its employees.

      65.   The actions of one or more Defendants caused Plaintiff to suffer

harm, including, but not limited to: loss of his personal property.

                                 JURY DEMAND

      Plaintiff demands a jury trial.

                            REQUEST FOR RELIEF

      WHEREFORE, Plaintiff respectfully requests that the Court:

      1.    Enter judgment against Defendants for compensatory damages in

            an amount exceeding $50,000, together with costs, including

            reasonable attorneys’ fees, under 42 U.S.C. § 1988, and

            prejudgment interest;

      2.    Enter judgment against Defendants for punitive damages in an

            amount to be determined by the jury; and

      3.    Grant such other relief as this Court deems just and equitable.


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Dated: September 18, 2019
                                         _____________________________
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